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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONTRELL OLIVER,                         :              CIVIL ACTION
                                         :              (habeas corpus)
                    Petitioner           :
                                         :
             v.                          :              NO. 16-5537
                                         :
BARRY SMITH, et al.,                     :
                                         :
                    Respondents          :

                                       ORDER

                    18th
      AND NOW, this _______ day of August 2022, upon consideration of Petitioner’s

Motion to Allow June Bell to Enter the Courthouse without a Photo Identification, it is

hereby ORDERED:

1.    The motion is GRANTED.

2.    June Bell—a witness who has been subpoenaed by the Federal Community

      Defender Office to testify in an evidentiary hearing on August 24, 2022, at 11:00

      a.m. in Courtroom 3-I—may enter the James A. Byrne U.S. Courthouse on August

      24, 2022, without a photo identification if accompanied by an employee of the

      Federal Community Defender Office for the Eastern District of Pennsylvania and

      a copy of this Order.


                                         BY THE COURT:

                                          /s/Elizabeth T. Hey
                                         ELIZABETH HEY
                                         United States Magistrate Judge
